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Case # 95CR84.

17946 SW 10th Lane
Pembroke Pines, FL 33029

Joan A. Lenard

US Federal Court Building /
301 N. Miami Ave.

Miami, FL 33128-7788

Dear Honorable Judge Lenard:

My name is Jose D. Irizarry and I am the son of Luis R. Castro. I know that
when you are given a case they present you with all the information you need
to make your decision. The only problem is that the information may not
always give you a clear picture of the true person. That is why, with all the
respect in the world, I would like to take this opportunity to tell you a little bit
about my father and what he means to me.

Judge Lenard, as you well know there is no such thing as a perfect person;
but I would like to think that my dad is as close as they come. When I was
seven my mom and | were very fortunate to meet my dad. He immediately
took me in as his son and he never treated me any less; even after my sister
was born. He loved me and provided a very stable family life. He has
always been a respectable, responsible, and dedicated man and father. He
lives his life with the goal of giving my sister and I everything we need.

In my heart I know that his dedication and his love for me is why I am
successful today. His example of hard work is what I admire; and it is what
motivated me to do well in life and in Pharmacy School at FAMU (3.5 GPA).

I believe that his loyalty not only to my sister and I, but to his job, prove the
kind of man he is. As you probably know my dad worked for United
Airlines for 30+ years.

Judge Lenard I would ask that you please take into consideration that my dad
has two kids that adore him very much and in the near future a grandchild

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that will need a grandfather. We need him because he is the pillar of our
family.

I am not asking for the system not to punish him, because I know that would
not be fair. All I am asking for is a second chance. I think that everyone
makes mistakes, this was his mistake. And not only is he doing his time at
the camp; but emotionally and mentally he has done his time. All 1 would
ask for is that his time be reduced.

Judge Lenard I would like to Thank You for taking time out of your busy
schedule to read my letter. I trust in you and the system to do what is fair and
right at the end.

Sincerely yours,
oun, Y. eyes

Jose D. Irizarry

C.C.: Hon. Judge Ursula Ungaro-Benages
Ms. Jacqueline Arango USDA
Ms. Bonnie Williams P.D.
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